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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY


    DR. BEVERLY M. HARRIS                                  Hon. Madeline Cox Arleo

                       Plaintiff,                          Civil Action No. 18-10277-MCA-SCM

                 v.                                        (Filed Electronically)

    THOMAS S. BOZZUTO, et al.,

                       Defendants.


     DECLARATION OF PHILIP S. MAY IN SUPPORT OF DEFENDANT KBR, INC.’S
           MOTION TO DISMISS THE THIRD AMENDED COMPLAINT

   I, PHILIP S. MAY, hereby declare as follows:

          1.          I am an attorney-at-law in good standing in the State of New Jersey, the State of

   New York, and the District of Columbia, as well as a member in good standing of the bar of this

   Court. I am an associate at the law firm Covington & Burling LLP, which represents Defendants

   Stuart Bradie and KBR, Inc. in the above-captioned matter. I make this declaration in support of

   Defendant KBR’s Motion to Dismiss the Third Amended Complaint. If called to testify, I could

   and would testify competently to the following facts.

          2.          Attached as Exhibit A is a true and correct copy of Docket Item 14, Order of

   Dismissal, filed on August 3, 2018 in the matter of Harris v. Sessions, No. 18-cv-5245 (CM),

   (S.D.N.Y.).

          3.          Attached as Exhibit B is a true and correct copy of Docket Item 37, Memorandum

   Opinion, filed on August 17, 2012, in the matter of Harris v. Holder, No. 11-cv-1902 (CKK),

   (D.D.C.).




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          I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true

   and correct. Executed on this 16th day of July, 2019, in Washington, DC.

                                                            s/ Philip S. May
                                                           Philip S. May
                                                           COVINGTON & BURLING LLP
                                                           850 Tenth Street, NW
                                                           Washington, DC 20001-4956
                                                           Tel.: (202) 662-6000
                                                           pmay@cov.com

                                                           Attorney for Defendants
                                                           Stuart Bradie and KBR, Inc.




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                     EXHIBIT A
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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK

   DR. BEVERLEY M. HARRIS,

                               Plaintiff,

                         -against-

   U.S. ATTORNEY GENERAL JEFFERY SESSIONS,
   IN HIS INDIVIDUAL AND OFFICIAL
   CAPACITIES; DIRECTOR CHRISTOPHER A.
   WRAY, FEDERAL BUREAU OF
   INVESTIGATION; ATTORNEY MARK NEBEKA ,
   US DEPARTMENT OF JUSTICE; SPECIAL                                  18-CV-5245 (CM)
   AGENT DREW CHRISPIL, FEDERAL BUREAU
   OF INVESTIGATION; AN UNKNOWN NUMBER                             ORDER OF DISMISSAL
   OF UNKNOWN AGENTS OF FEDERAL
   BUREAU OF INVESTIGATION; AN UNKNOWN
   NUMBER OF UNKNOWN AGENTS OF
   FEDERAL BUREAU OF INVESTIGATION; AN
   UNKNOWN NUMBER OF UNKNOWN AGENTS
   OF FEDERAL BUREAU OF INVESTIGATION;
   DR. GARLAND GOSSETT, SURGEON, ST.
   JOSEPH HOSPITAL; DR. STEFAN GRESS,
   DERMATOLOGIST; KBR, INC.,

                               Defendants.

   COLLEEN McMAHON, Chief United States District Judge:

          Plaintiff Dr. Beverley M. Harris, appearing pro se, brings this action alleging that

   Defendants have violated her rights. By order dated July 24, 2018, the Court granted Plaintiff’s

   request to proceed without prepayment of fees, that is, in forma pauperis (IFP). For the reasons

   set forth below, the Court dismisses the complaint.

                                      STANDARD OF REVIEW

          The Court must dismiss a complaint, or portion thereof, that is frivolous or malicious,

   fails to state a claim upon which relief may be granted, or seeks monetary relief from a defendant

   who is immune from such relief. 28 U.S.C. §§ 1915(e)(2)(B), 1915A(b); see Abbas v. Dixon,
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   480 F.3d 636, 639 (2d Cir. 2007). While the law mandates dismissal on any of these grounds, the

   Court is obliged to construe pro se pleadings liberally, Harris v. Mills, 572 F.3d 66, 72 (2d Cir.

   2009), and interpret them to raise the “strongest [claims] that they suggest,” Triestman v. Fed.

   Bureau of Prisons, 470 F.3d 471, 474-75 (2d Cir. 2006) (internal quotation marks and citations

   omitted) (emphasis in original).

           A claim is frivolous when it “lacks an arguable basis either in law or in fact.” Neitzke v.

   Williams, 490 U.S. 319, 324-25 (1989), abrogated on other grounds by Bell Atl. Corp. v.

   Twombly, 550 U.S. 544 (2007); see also Denton v. Hernandez, 504 U.S. 25, 32-33 (1992)

   (holding that “finding of factual frivolousness is appropriate when the facts alleged rise to the

   level of the irrational or the wholly incredible”); Livingston v. Adirondack Beverage Co., 141

   F.3d 434, 437 (2d Cir. 1998) (“[A]n action is ‘frivolous’ when either: (1) the factual contentions

   are clearly baseless . . . ; or (2) the claim is based on an indisputably meritless legal theory.”)

   (internal quotation marks and citation omitted).

                                             BACKGROUND

           Plaintiff, who identifies herself as a “Retired US Air Force Disabled Veteran and a

   Retired US Government (US Army) Civil Services Employee,” brings this complaint alleging

   that Defendants have violated her “Human Rights, First and Fourth Amendments [sic] Rights, for

   14 years.” (Compl. at 2.)

           Plaintiff alleges that Defendants violated her rights by:

           Dr. Gossett illegally implanting a [sic] “FBI tracking device” in Plaintiff’s right
           leg, approximately 8 inched [sic] above her knee, on 17 February 2005 without
           her knowledge and permission, with the help of Dr. Garland Gossett, St. Joseph
           Hospital, Houston Texas, under the false pretense of performing a colonoscopy,

           Dr. Gress illegal implanting a “FBI Listening device” in Plaintiff’s right ear, at the
           base of the opening of the ear, on 24 June 2014 during a facial procedure, without
           her knowledge and permission.


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           FBI, DOJ, and Drs. Gossett & Gress took it upon themselves to be Plaintiff’s
           “judge, jury, and executioner” in violation of “The Rule of Law”, [sic] Federal
           Laws, State Laws, International laws, and other laws that clearly state that only a
           Court of Law can grant an order to have “devices” implanted in humans and that
           person who know about such implant procedure.

   (Id.)

           Plaintiff asks the Court “to demand that these Defendants be held responsible for these

   violations and compensate Plaintiff for the many damages inflicted against Plaintiff and order

   that they cease and desist these illegal acts.” (Id. at 50.)

           On June 22, 2018, Plaintiff filed a “Motion to Cease and Desist,” seeking an order to

   have Defendants cease from interfering with Plaintiff’s communication system. (ECF No. 4.) On

   July 5, 2018, Plaintiff filed a “Second and Urgent Motion for Medical Evidence,” seeking an

   order to have procedures performed to show the illegally implanted devices in her body. (ECF

   No. 5.) Plaintiff filed a “Motion for Emergency Medical Evidence” on July 9, 2018, seeking to

   have the devices removed from her body, “preventing the FBI from the continuous humane

   tracking and listening to Plaintiff every communication.” (ECF No. 6.) Plaintiff filed an

   “Amendment to Motion for Emergency Medical Evidence (ECF No. 9) on July 16, 2018,

   indicating that she is “in fear of her life as she strongly believe that whatever device etc. is

   illegally planted on her skull under the skin, in this area of her head, threatens her life.” On July

   16, 2018, Plaintiff filed a “Motion for an Order to Help to Save Plaintiff’s Life,” requesting “a

   chance to live, not to be killed by the FBI.” (ECF No. 10.) Plaintiff filed a second “Motion to

   Cease and Desist” on July 23, 2018, asking to have Defendants “stop these illegal action [sic]

   against her immediately,” and an “Order to have the CT Scans perform [sic] so that the devices

   can be removed and not cause her death.” (ECF No. 11.)




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                                              DISCUSSION

            Even when read with the “special solicitude” due pro se pleadings, Triestman, 470 F.3d at

   474-75, Plaintiff’s complaint must be dismissed as frivolous. Plaintiff’s allegations rise to the

   level of the irrational, and there is no legal theory on which he can rely. See Denton, 504 U.S. at

   33; Livingston, 141 F.3d at 437.

            District courts generally grant a pro se plaintiff an opportunity to amend a complaint to

   cure its defects, but leave to amend is not required where it would be futile. See Hill v. Curcione,

   657 F.3d 116, 123-24 (2d Cir. 2011); Salahuddin v. Cuomo, 861 F.2d 40, 42 (2d Cir. 1988).

   Because the defects in Plaintiff’s complaint cannot be cured with an amendment, the Court

   declines to grant Plaintiff leave to amend.

                                             CONCLUSION

            The Clerk of Court is directed to assign this matter to my docket, mail a copy of this

   order to Plaintiff, and note service on the docket.

            Plaintiff’s complaint is dismissed as frivolous under 28 U.S.C. § 1915(e)(2)(B)(i). The

   Court also denies all of Plaintiff’s motions (ECF Nos. 4-6, 9-11) as moot, and directs the Clerk of

   Court to terminate any other pending matters.

            The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order would

   not be taken in good faith, and therefore in forma pauperis status is denied for the purpose of an

   appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

   SO ORDERED.

   Dated:     August 3, 2018
              New York, New York

                                                               COLLEEN McMAHON
                                                           Chief United States District Judge



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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


   BEVERLY M. HARRIS,                          :
                                               :
                         Plaintiff,            :
                                               :
          v.                                   :       Civil Action No. 11-1902 (CKK)
                                               :
   ERIC H. HOLDER, JR., et al.,                :
                                               :
                         Defendants.           :


                                      MEMORANDUM OPINION


          This matter is before the Court on Defendants’ Motion to Dismiss Amended Complaint. 1

   For the reasons discussed below, the motion will be granted.


                                         I. BACKGROUND


          Plaintiff, who describes herself as “a Compensated Disabled Veteran of the United States

   Air Force, an Air Traffic Controller, an Aerospace Engineer, a Federal Government Contract

   Specialist, and a former University Professor,” Am. Compl. ¶ 14, served approximately 10 years

   in the Air Force prior to accepting a position “on September 9, 2002 to work as a Contract

   Specialist with the Air Force’s 89 Contracting Squadron at Andrews Air Force Base” in

   Maryland, id. ¶ 26. The Air Force had awarded plaintiff a recruitment bonus of $9,400 in light

   of her engineering experience. Id. ¶ 27. She soon learned that a manager, Ellen Siozon, “was

   responsible for her receiving the recruitment bonus,” and within months Ms. Siozon “was


   1
           Also before the Court are Plaintiff’s Motions for Relief from Wiretapping and
   Monitoring of Telephones, Computer, and Person [Dkt. #6, 33], which will be denied, and
   Plaintiff’s Motion to Withdraw Jury Trial Demand from Plaintiff’s Amended Complaint [Dkt.
   #22] and Motion to Withdraw Plaintiff’s Motion for Relief from Wiretapping of Plaintiff’s
   Telephones, Computer, and Person [Dkt. #31], which will be granted.
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   demanding funds from the recruitment bonus and making threats of firing [plaintiff]” if she did

   not pay a kickback. Id. “Reluctantly [plaintiff] gave . . . Siozon $2,000 in cash as . . .

   requested,” only to have Ms. Siozon demand additional funds. Id. Plaintiff apprised the Air

   Force Office of Special Investigation (“AFOSI”) of the situation, and AFOSI in conjunction with

   the Federal Bureau of Investigation (“FBI”) “launched an investigation” during which plaintiff

   was asked “to work with them []undercover” by wearing a recording device. Id. AFOSI and

   FBI agents arrested Ms. Siozon in September 2003, id., and “[t]he government tried the extortion

   case to the Baltimore Federal Court . . . in 2004,” id. ¶ 3. Plaintiff testified at the trial. See Mem.

   of P. & A. in Supp. of Defs.’ Mot. to Dismiss Am. Compl. (“Defs.’ Mem.”) at 2 n.4. The

   government “lost the case,” and the individual who informed plaintiff of the outcome of the trial

   “was noticeably disappointed, seem[ed] very unsatisfied and bitter based on the tone of voice,”

   in plaintiff’s estimation. Am. Compl. ¶ 3.


           Plaintiff’s participation in the Siozon matter apparently was the origin of her subsequent

   woes, all of which she attributes to the United States Attorney General and his subordinates who,

   “[t]o achieve their political and public relation goals and public image,” have “trampled on

   [plaintiff’s] constitutional rights and their own rules. Id. ¶ 4.


           According to plaintiff, the United States Department of Justice (“DOJ”) and the FBI, in

   violation of the Privacy Act, see 5 U.S.C. § 552a(b), “intentionally and willfully have disclosed

   records kept by the agencies pertaining to [plaintiff] in order to falsely implicate [her] and

   convey the false impression that the agencies was [sic] investigating [her] for some type of

   illegal acts,” id. ¶ 30. In addition, defendants also violated 28 C.F.R. § 50.2, a regulation

   intended “to prevent political pressures from encouraging agents to publicly smear a

   presumptively innocent, uncharged person like [her].” Am. Compl. ¶ 31; see id. ¶¶ 32-33.

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   These unlawful disclosures allegedly occurred over the course of seven years, see id. ¶¶ 7, 47,

   and have resulted in plaintiff’s continued unemployment “even though she has applied for more

   than 300 federal government jobs and more than 50 jobs with civilian companies,” id. ¶ 43.

   Plaintiff “believes that the FBI . . . [has] been ‘blacklisting’ her and disseminating false and

   defamatory information to prospective employees.” Id. ¶ 47. The Attorney General and his

   subordinates allegedly are “providing to former employers, future employers, friends, family,

   business associates (including mortgage holder), neighbors, and local enforcement agencies

   scores of anonymous leaks detailing . . . the events of the extortion investigation at Andrews Air

   Force Base and the trial in Baltimore.” Id. 9.a. (emphasis removed). Among the alleged

   disclosures is “defamatory and false information about subjective observations about [plaintiff’s]

   character.” Id. The dissemination of “[f]alse and defamatory information . . . attacking her

   character, and implicating her without evidence have prevented her from obtaining . . .

   employment in her field of contracting, air traffic control, and aerospace engineering.” 2 Id. ¶



   2
           On May 30, 2004, plaintiff took a job as a Contract Specialist with the General Services
   Administration (“GSA”) in Boston, Massachusetts. Am. Compl. ¶ 36. In September 2004,
   plaintiff “was terminated with no reason/cause given and no due process of pre-termination
   defense.” Id. “Her next position, as a Contract Specialist with the Port Authority of New York,
   lasted only from March 2007 until her termination in September 2007. Id. ¶ 37. Neither a
   reason for her termination nor “due process for pre-termination defense was offered” to her. Id.
   Plaintiff returned to her native Texas, and in September 2007 she “was hired by L-3
   Communication (IS) in Waco Texas . . . as a Principal Program Schedule & Cost Analyst on the
   US Navy EP-3E MRO program.” Id. ¶ 38. She was “terminated on December 20, 2008 once
   again with no pre-termination due process.” Id. Plaintiff’s career path led her to Iraq in January
   2009, when she took a position “with KBR, Inc. as an Air Traffic Controller at Camp Delta,”
   only to be terminated on June 25, 2009. Id. ¶ 40.
           Plaintiff’s last employment, as a Contract Specialist assigned to a United States Army
   Area Support Group (“ARG”) in Kuwait, began in September 2009. Id. ¶ 41. Her
   “exceptional” performance, however, “was overshallowed [sic] by the false and defamatory
   information from FBI employee(s)” who caused plaintiff to suffer “inhumane, disrespectful, and
   unfair treatment and abuse from management.” Id. At this point, plaintiff “contacted . . . FBI
   Special Agent . . . Miceli on November 23, 2010, after receiving” a memorandum regarding her
   proposed termination. Id. ¶ 42. According to plaintiff, Special Agent Miceli told her that he
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   61. She deems this a violation of her “Fifth Amendment rights to liberty and property without

   due process of law.” Id. ¶ 59.


          To further this effort, the FBI allegedly is “monitoring her telephone and computer,” and

   in some cases, the agency has intercepted email messages between plaintiff and prospective

   employers. Id. ¶ 47. Plaintiff alleges that, even though she “changed her telephone number six .

   . . times between July 2011 and September 2011, changed her e-mail address twice, and created

   3 other free e-mail accounts, the FBI found the changes and continued to monitor them all.” Id.

   ¶ 48. In addition, since April 2004 “electronic eavesdropping equipment” has been installed “on

   her private residence phone line and on her personal computers” for the “sole purpose” of

   “harass[ing her] by invading the most personal and private sphere of her life.” Id. ¶ 9.b.

   Surveillance is not always hidden. According to plaintiff the “so-called []surveillance [is] so

   overt, extensive, and intrusive as to constitute deliberate harassment,” and defendants have gone

   so far as enlisting the assistance of Harris County, Texas officers “who are constantly parking in

   front of [plaintiff’s] home,” resulting in her “mental home arrest.” Id. ¶ 9.c.




   “would relocate her,” but in making the request he told others “a completely different story and
   one that defamed her reputation.” Id. In addition, during this time period Special Agent Miceli
   allegedly “asked [plaintiff] to go undercover with the FBI on Army contracts[] corruption[],” a
   request to which she “reluctantly agreed knowing that her phones (business and private) and
   computers (business and private) were being monitored.” Id. She also “was being followed on
   a daily basis by the Army investigative staff.” Id. Plaintiff ultimately “decided not to
   participate” in an investigation, id., a decision which allegedly resulted in “stepped up . . . efforts
   to marginalize and discredit her.” Id. ¶ 44.
           According to plaintiff, she applied for positions with, but was not hired by, the Defense
   Logistics Agency, USAID, the Departments of State, Education, Homeland Security, Housing
   and Urban Development, ARAMCO Services, KBR, Inc., Marathon Oil, and other federal
   agencies and private corporations. See Am. Compl. ¶ 47. In some cases, according to plaintiff,
   she was unable to communicate with prospective employers because of the FBI intercepted email
   messages. See id.
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           When plaintiff sought “to clear her name publicly and to bring light to the government’s

   abuses . . . [t]hey sought to chill any future efforts by [plaintiff] to speak out, defend herself, or

   complaint [sic].” Id. ¶ 44. These actions allegedly violated her “First Amendment right to free

   speech and to petition her government for redress of grievances.” 3 Id. Even after returning to

   Texas from her last place of employment overseas, “federal agents increased the intensity of

   their ‘surveillance’ of [plaintiff].” Id. ¶ 46. For example, she asserts that local law enforcement

   officers, at defendants’ behest, “park in front of her house, stop[] all friends, family, and business

   associates (including lawn maintenance individual) and harass them as well as record[] their

   license plates.” Id. According to plaintiff, “the constant, in-your-face government presence was

   designed to intimidate, punish and harass [her] for availing herself of her First Amendment rights

   and chill any future plans to exercise those rights.” Id.


           For these alleged violations of rights protected by the First and Fifth Amendments to the

   United States Constitution, and for alleged violations of the Privacy Act and 28 C.F.R. § 50.2,

   plaintiff demands a declaratory judgment, injunctive relief, and unspecified compensatory,

   exemplary and punitive damages, among other relief. Id. at 36 (Prayer for Relief).


   3
            Plaintiff apparently petitioned the government for redress of her grievances by expressing
   her concerns to DOJ officials and FBI Special Agents. See Am. Compl. ¶¶ 42. 49. For
   example, “[i]n the spring of 2010,” plaintiff “sent a complaint to the DOJ Office of Special
   Counsel . . . regarding the violation of her civil right by her management with the U.S. Army,”
   only to have defendant Giaccio “dismiss[] the complaint and state[] that ‘Fifth Amendment right
   to self-incrimination is only used in a court’s proceedings[’] but that was not what the complaint
   was about.” Id. ¶ 49.a. In November 2010, plaintiff “went to the FBI Office at Camp Arifjan
   Kuwait for assistance,” but defendant Miceli offered none. Id. ¶ 49.b. Her next attempt occurred
   in June 2011, when plaintiff sent a letter to defendant Bookstein, FBI Ombudsman, “requesting
   an explanation as to why FBI has been dissemination [sic] false and defamatory information
   about her, and what did she do to warrant the FBI interference in her life.” Id. ¶ 49.c. Neither
   this letter nor the copies she sent to defendants Kelley, Kelly, Mueller, or the DOJ’s Civil Rights
   Division triggered a response. Id. ¶ 49.c. – 49.f. When she went to the FBI’s Washington, D.C.
   headquarters office on September 9, 2011, she was refused entry. Id. ¶ 49.g.


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                                            II. DISCUSSION


          In addition to the FBI and the DOJ, see Am. Compl. ¶¶ 24-25, plaintiff brings this action

   against United States Attorney General Eric Holder, Jr., FBI Director Robert Mueller, FBI

   Special Agents Gregorio Miceli, Patrick Kelley, Stephen Kelly, and Monique Bookstein, the

   DOJ’s Inspector General, unknown FBI Special Agents and DOJ employees, and Gregory

   Giaccio, in both their official and individual capacities, id. ¶¶ 15, 17-23. Defendants move to

   dismiss the amended complaint on several grounds, arguing primarily that the pleading fails to

   state claims upon which relief can be granted. 4 See generally Mem. of P. & A. in Supp. of

   Defs.’ Mot. to Dismiss Am. Compl. (“Def.’s Mem.”) at 12-37.


                                    A. Dismissal Under Rule 12(b)(6)


          The Federal Rules of Civil Procedure require that a complaint contain “‘a short and plain

   statement of the claim showing that the pleader is entitled to relief,’ in order to ‘give the

   defendant fair notice of what the . . . claim is and the grounds upon which it rests.’” Bell Atl.

   Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957));

   accord Erickson v. Pardus, 551 U.S. 89, 93 (2007) (per curiam). Rule 12(b)(6) tests the legal

   sufficiency of a complaint. See Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). In

   considering such a motion, the “complaint is construed liberally in the plaintiff[’s] favor, and

   [the Court] grant[s] plaintiff[] the benefit of all inferences that can be derived from the facts

   alleged.” Kowal v. MCI Comm’cns Corp., 16 F.3d 1271, 1276 (D.C. Cir. 1994) (citation

   4
           For purposes of this Memorandum Opinion, the Court presumes, without deciding, that
   service of process was effected properly, that this Court may exercise personal jurisdiction over
   defendant, and that venue in this district is proper. Accordingly, the Court does not address
   defendant’s arguments, see generally Def.’s Mem. at 3-12, for dismissal of the complaint under
   Rule 12(b)(2) for lack of personal jurisdiction, under Rule 12(b)(3) for improper venue, under
   Rule 12(b)(4) for insufficient process, and under and 12(b)(5) for insufficient service of process.
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   omitted). However, “the [C]ourt need not accept inferences drawn by plaintiff[] if such

   inferences are unsupported by the facts set out in the complaint.” Id. The Court need not accept

   “a legal conclusion couched as a factual allegation,” Papasan v. Allain, 478 U.S. 265, 286

   (1986), or “naked assertions devoid of further factual enhancement.” Ashcroft v. Iqbal, 556 U.S.

   662, 678 (2009) (internal quotation marks, brackets and citation omitted); see Mendez Internet

   Mgmt. Servs., Inc. v. Banco Santander de Puerto Rico, 621 F.3d 10, 14 (1st Cir. 2010) (stating

   that Twombly and Iqbal standards require the court to “screen[] out rhetoric masquerading as

   litigation”).


           The complaint must do more than set forth than “‘labels and conclusions’ or ‘a formulaic

   recitation of the elements of a cause of action . . . .’” Iqbal, 556 U.S. at 678 (quoting Twombly,

   550 U.S. at 555). “To survive a [Rule 12(b)(6)] motion to dismiss, a complaint must contain

   sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

   Id. (quoting Twombly, 550 U.S. at 570). A claim is facially plausible when the pleaded factual

   content “allows the [C]ourt to draw the reasonable inference that the defendant is liable for the

   misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). “The plausibility standard is not

   akin to a probability requirement, but it asks for more than a sheer possibility that a defendant

   has acted unlawfully.” Id. (internal quotation marks and citation omitted).


                                        B. Official Capacity Claims


           Plaintiff brings her claims for injunctive and declaratory relief against the individual

   defendants in their both their individual and official capacities. See Am. Compl. ¶¶ 64, 68, and

   76. To the extent that she also may intend to bring any claim for damages against either these

   defendants in their official capacities or against a federal government agency, the claims are


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   barred under the doctrine of sovereign immunity. A suit against a federal official in his official

   capacity is treated as a suit against the government itself. See Kentucky v. Graham, 473 U.S.

   159, 165-66 (1985). “It is axiomatic that the United States may not be sued without its consent

   and that the existence of consent is a prerequisite for jurisdiction.” United States v. Mitchell, 463

   U.S. 206, 212 (1983). Such consent may not be implied, but must be Aunequivocally expressed.@

   United States v. Nordic Village, Inc., 503 U.S. 30, 33-34 (1992). The United States has not

   waived its sovereign immunity for constitutional tort claims. See Fed. Deposit Ins. Corp. v.

   Meyer, 510 U.S. 471, 477 (1994) (stating that sovereign immunity precludes damage claims

   against the United States government for constitutional violations brought under the Federal Tort

   Claims Act). In addition, sovereign immunity extends to governmental agencies such as the DOJ

   and to their employees where such employees are sued in their official capacities. See id. at

   483-86. “Sovereign immunity is jurisdictional in nature,” id. at 475, and absent a waiver of

   sovereign immunity, the court lacks subject matter jurisdiction to entertain plaintiff=s claims for

   money damages against the FBI, the DOJ, or against the federal government officials sued in

   their official capacities. See id.; Clark v. Library of Congress, 750 F.2d 89, 101-02 (D.C. Cir.

   1984); Meyer v. Reno, 911 F. Supp. 11, 18 (D.D.C. 1996).


                                     C. Individual Capacity Claims


          1. The Complaint Fails to State Bivens Claims Upon Which Relief Can Be Granted


          Plaintiff brings this action in part under Bivens v. Six Unknown Named Agents of Fed.

   Bureau of Narcotics, 403 U.S. 388 (1971), against the individual defendants in their individual

   capacities, see Am. Compl. ¶¶ 64, 68 and 76. “A Bivens action is the federal analog to suits




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   brought against state officials under . . . 42 U.S.C. § 1983.” 5 Marshall v. Fed. Bureau of

   Prisons, 518 F. Supp. 2d 190, 193 (D.D.C. 2007) (citing Hartman v. Moore, 547 U.S. 250, 254

   n.2 (2006) (internal citation omitted)). Under Bivens, a plaintiff has “an implied private action

   for damages against federal officers alleged to have violated [her] constitutional rights.” Corr.

   Servs. Corp. v. Malesko, 534 U.S. 61, 66 (2001). Critical to a Bivens claim is an allegation “that

   the defendant federal official was personally involved in the illegal conduct.” Simpkins v.

   District of Columbia Gov’t, 108 F.3d 366, 369 (D.C. Cir. 1997); Voinche v. Obama, 744 F. Supp.

   2d 165, 177 (D.D.C. 2010). The individual defendants move to dismiss plaintiff’s Bivens claims

   first because the “allegations against Defendants Holder, Mueller, Giaccio, Kelly, Kelley,

   Bookstein, [and the DOJ’s Inspector General] are all based on their roles as heads of agency

   components, their failure to respond to letters from Plaintiff or (as with allegations against

   defendant Miceli) fanciful claims of some broad but unsupported conspiracy.” Defs.’ Mem. at

   13-14.


            However weak, vague and unsupported the allegations may be, plaintiff manages to

   allege the Attorney General’s personal involvement in coordinated efforts to “intentionally

   trample[] on[plaintiff’s] constitutional rights” by effecting her termination from six jobs, Am.

   Compl. ¶ 4; see id. ¶¶ 63, 67, and by “fail[ing] to eliminate, condemn, or seriously investigate the

   violations,” id. ¶ 6. Her assertion that the remaining defendants participated in this activity, id. ¶

   7; see id. ¶¶ 59, 63, 67, is weaker still. These meager accomplishments are meaningless,




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                 “To state a claim under [42 U.S.C. §] 1983, a plaintiff must allege both (1) that he
   was deprived of a right secured by the Constitution or laws of the United States, and (2) that the
   defendant acted under color of the law of a state, territory or the District of Columbia.” Hoai v.
   Vo, 935 F.2d 308, 312 (D.C. Cir.1991) (internal quotation marks omitted).

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   however, in light of the critical deficiency of plaintiff’s complaint: its utter failure to support its

   broad assertions of constitutional violations with factual allegations.


           Plaintiff’s complaint is replete with her own opinions and beliefs, labels and legal

   conclusions; it offers few, if any, facts which might even remotely support her claims. For

   example, plaintiff alleges that defendants took steps “to chill any future efforts by [plaintiff] to

   speak out, defend herself, or complaint [sic],” in violation of her “First Amendment right to free

   speech and to petition her government for the redress of grievances,” Am. Compl. ¶ 44, yet she

   fails to indicate the matter about which she was speaking, who among the defendants committed

   the alleged violation, or the activities from which she refrained as a result of defendants’

   conduct. Similarly, plaintiff broadly alleges the existence of “illegal defamation of character

   campaign waged by the FBI,” id. ¶ 47, without alleging any facts tending to link particular

   defendants’ conduct to plaintiff’s unsuccessful search for employment or to any other harm

   allegedly resulting therefrom. And her allegations of conspiracy, surveillance, and belief “that

   the DOJ and the FBI encouraged her mortgage company . . . to wrongfully forclose[] on her

   house [in] Cypress, Texas,” Id. ¶ 50, qualify as “patently insubstantial.” Tooley v. Napolitano,

   586 F.3d 1006, 1010 (D.C. Cir. 2009). In short, plaintiff’s complaint is exactly the type of

   pleading that Twombly and Iqbal are intended to address. See Anders v. Dolgencorp, LLC, No.

   5:11 CV 2098, 2011 WL 6338837, at *3 (N.D. Ohio Dec. 19, 2011) (finding that complaint

   which “provides no additional facts” to support a claim for intentional infliction of emotional

   distress under Ohio law “is precisely the type of pleading that Twombly and Iqbal addressed as

   insufficient”); Watson v. V.A. Hosp., No. 3:09-1140, 2010 WL 3907336, at *1 (M.D. Tenn. Aug.

   27, 2010) (recommending dismissal of complaint where “Plaintiff has provided absolutely no

   facts,” and instead “simply sued Defendant for ‘violation’ of a federal statute and ‘violations’ of


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   a number of state statutes,” while “provid[ing] no facts whatsoever to support these legal

   allegations and conclusions”), adopted, 2010 WL 3878916 (M.D. Tenn. Sept. 29, 2010). This

   complaint is subject to dismissal because it simply “has not nudged [plaintiff’s] claims . . . across

   the line from conceivable to plausible,” Iqbal, 556 U.S. at 678 (brackets, internal quotation

   marks and citation omitted); see Gary v. Pa. Human Relations Comm’n, No. 10-1844, 2012 WL

   931082, at *5 (E.D. Pa. Mar. 20, 2012) (dismissing Bivens claim against federal employee where

   complaint’s “allegations are . . ., at best, boilerplate allegations amounting to conclusions of law

   which are entirely lacking in factual substance”); see also Kuryakyn Holdings, Inc. v. Just In

   Time Distrib. Co., 693 F. Supp. 2d 897, 903 (W.D. Wis. 2010) (noting that a claim “is

   implausible when it is not supported by factual allegations that address the elements of the

   claim”) (citation omitted).


                         2. Qualified Immunity Bars Plaintiff’s Bivens Claims


          Even if plaintiff had successfully alleged Bivens claims against the individual defendants,

   qualified immunity would bar the claims. “[G]overnment officials performing discretionary

   functions generally are shielded from liability for civil damages insofar as their conduct does not

   violate clearly established statutory or constitutional rights of which a reasonable person would

   have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). “Qualified immunity balances

   two important interests – the need to hold public officials accountable when they exercise power

   irresponsibly and the need to shield officials from harassment, distraction, and liability when

   they perform their duties reasonably.” Pearson v. Callahan, 555 U.S. 223, 231 (2009).


          In Saucier v. Katz, 533 U.S. 194 (2001), the Supreme Court set forth a two-step analysis

   for resolving government officials’ qualified immunity claims. First, the Court decides “whether


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   the facts that a plaintiff has alleged or shown make out a violation of a constitutional right.” Id.

   at 201. If the plaintiff satisfies this first step, the Court then decides whether the right at issue

   was clearly established at the time of the defendant’s alleged misconduct. Id. The sequence of

   this analysis no longer is mandatory, and the Court may “exercise [its] sound discretion in

   deciding which of the two prongs . . . should be addressed first in light of the circumstances in

   the particular case at hand.” Pearson, 555 U.S. at 236.


                                       a. Count I: Fifth Amendment Claim


           According to plaintiff, defendants “violated [her] Fifth Amendment rights to liberty and

   property without due process of law.” Am. Compl. ¶ 59. Defendants allegedly accomplished

   this task by “leak[ing] false and defamatory” information to then-current and prospective

   employers, thus “intentionally and maliciously interfere[ing] with [plaintiff’s] jobs . . . which

   resulted in her firing.” Id.¶ 60. In addition, defendants allegedly “implicat[ed] her without

   evidence,” thus preventing her from “obtaining future employment in her field of contracting, air

   traffic control, and aerospace engineering.” Id. ¶ 61.


           The deficiencies of the complaint are again apparent in this context. The complaint

   simply fails to articulate a violation of a right protected by the Fifth Amendment. There are no

   factual allegations to identify the particular individuals responsible, to indicate what information

   these defendants allegedly disclosed, to state whether the information was false, and to link the

   injuries plaintiff allegedly sustained to the “leaks.” Furthermore, there simply is no cognizable

   “constitutional claim on the theory that . . . actions, undertaken with malice, deprived [plaintiff]

   of a ‘liberty interest’ secured by the Fifth Amendment to the United States Constitution” in the

   circumstances of this case. Siegert v. Gilley, 500 U.S. 226, 233-34 (1991). At most, the


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   individual defendants made statements which defamed plaintiff and harmed her reputation in the

   eyes of then-current or prospective employers. “Defamation, by itself, is a tort actionable under

   the laws of most States, but not a constitutional deprivation.” Id.


                                  b. Count II: First Amendment Claim


          Plaintiff alleges that defendants “sought to punish and retaliate against [her] for exercise

   of her First Amendment rights.” Am. Compl. ¶ 67. A plaintiff states a First Amendment

   retaliation claim when “(1) [she] has an interest protected by the First Amendment; (2)

   defendants’ actions were motivated or substantially caused by [her]exercise of that right; and (3)

   defendants’ actions effectively chilled the exercise of [her] First Amendment right.” Hatfill v.

   Ashcroft, 404 F. Supp. 2d 117-18 (D.D.C. 2005) (citation omitted). Even if the Court were to

   assume that plaintiff has a protected First Amendment interest and exercised it, her complaint

   includes no factual allegations to identify which of the defendants violated that interest, to

   specify the manner in which the alleged retaliatory acts occurred, or to describe how the alleged

   acts of retaliation chilled further exercise of that right. It cannot be said, for example, that

   defendants’ actions so chilled her exercise of First Amendment rights that she refrained from

   contacting DOJ and FBI officials in person, see Am. Compl. ¶¶ 42, 49, or refrained from sending

   letters, see id. ¶ 49, or so impacted her that she could not pursue her claims in court. “Where a

   party can show no change in [her] behavior, [she] has quite plainly shown no chilling of [her]

   First Amendment right to free speech.” Curley v. Village of Suffern, 268 F.3d 65, 73 (2d Cir.

   2001) (citation omitted).


                          III. Privacy Act Claims Against the DOJ and the FBI




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          “The [Privacy] Act gives agencies detailed instructions for managing their records and

   provides for various sorts of civil relief to individuals aggrieved by failures on the Government’s

   part to comply with the requirements.” Doe v. Chao, 540 U.S. 614, 618 (2004). Generally, the

   Privacy Act prohibits an agency from “disclos[ing] any record which is contained in a system of

   records by any means of communication to any person, or to another agency, except pursuant to

   a written request by, or with the prior written consent of, the individual to whom the record

   pertains.” 5 U.S.C. § 552a(b). There are twelve exceptions to this rule, however. See 5 U.S.C. §

   552a(b)(1-12). A claim arising from the improper disclosure of information has four elements:

                  1) the disclosed information is a record contained within a system
                  of records; 2) the agency improperly disclosed the information; 3)
                  the disclosure was willful or intentional; and 4) the disclosure
                  adversely affected the plaintiff.
   Doe v. U.S. Dep’t of Justice, 660 F. Supp. 2d 31, 44-45 (D.D.C. 2009) (quoting Logan v. Dep’t

   of Veterans Affairs, 357 F. Supp. 2d 149, 154 (D.D.C. 2004)). An individual may file a lawsuit

   against an agency for injunctive relief and monetary damages if an improper disclosure was

   willful or intentional and adversely affected the individual. 5 U.S.C. § 552a(g)(1); see Logan,

   357 F. Supp. 2d at 154.


          Plaintiff “believes that [the] FBI and [the] DOJ both maintain, with respect to the

   Extortion investigation at Andrews Air Force Base, 2003, a ‘system of records’ . . . pertain[ing]

   to [her],” Am. Compl. ¶ 71, and have disclosed such records without her consent, id. ¶ 72,

   causing her “an adverse effect,” namely the loss of employment opportunities, damage to her

   “personal and professional reputation,” and “extreme mental and emotional distress,” id. ¶ 73.

   The allegations of the complaint are so sparse and so conclusory that the Court cannot determine

   what information allegedly was disclosed. It is unclear whether this information is a “record,”

   defined under the Privacy Act as “any item . . . about an individual that is maintained by an

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   agency . . . that contains [the individual’s] name, or the identifying number, symbol, or other

   identifying particular . . . such as a finger[print] . . . or a photograph.” 5 U.S.C. § 552a(a)(4).

   Nor can the Court determine whether the purported record is maintained in a “system of

   records,” defined as “a group of any records under the control of any agency from which

   information is retrieved by the name of the individual or by some identifying number, symbol, or

   other identifying particular assigned to the individual.” 5 U.S.C. § 552a(a)(5). “A system of

   records exists only if the information contained within the body of material is both ‘retrievable

   by personal identifier’ and ‘actually retrieved by personal identifier.’” Maydak v. United States,

   630 F.3d 166, 178 (D.C. Cir. 2010) (quoting Maydak v. United States, 363 F.3d 512, 520 (D.C.

   Cir. 2004)) (emphasis in original); see Feldman v. Cent. Intelligence Agency, 797 F. Supp. 2d 29,

   41 (D.D.C. 2011) (finding that Privacy Act claim survived a Rule 12(b)(6) motion where the

   plaintiff identified a particular record -- the report of an investigation into discrepancies in

   plaintiff’s claims for reimbursement of travel expenses -- alleged that the record was maintained

   in a system of records retrievable by plaintiff’s name, and alleged that that other individuals,

   whom plaintiff identified by name and who had no official connection to the investigation,

   learned of the investigation’s details). Absent from plaintiff’s complaint is any allegation that

   the offending record “with respect to the Extortion investigation at Andrews Air Force Base,

   2003”, Am. Compl. ¶ 71, is “about” plaintiff or can be retrieved by plaintiff’s name or other

   personal identifier. Here, the Court is left with nothing more than language parroting the statute

   which, standing alone, does not rise to the level of a cognizable Privacy Act claim.


                     IV. There Is No Private Right of Action Under 28 C.F.R. § 50.2


          It is the policy of the DOJ to refrain from “furnish[ing] any . . . information for the

   purpose of influencing the outcome of a defendant’s [criminal] trial, nor shall personnel of the

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   [DOJ] furnish any . . . information, which could reasonably be expected to be disseminated by

   means of public communication, if such a statement or information may reasonably be expected

   to influence the outcome of a pending or future trial.” 28 C.F.R. § 50.2(b)(2). Similarly, DOJ

   personnel “shall not during . . . [civil] litigation make or participate in making an extrajudicial

   statement, other than a quotation from or reference to public records, which a reasonable person

   would expect to be disseminated by means of public communication if there is a reasonable

   likelihood that such dissemination will interfere with a fair trial and which relates to” evidence,

   the credibility of witnesses, or opinions on the merits of a claim or defense. 28 C.F.R. § 50.2(c).


          Plaintiff alleges that defendants “have knowingly, willfully, and maliciously violated”

   these provisions, which are designed to “prohibit[] public disclosures that have injured” plaintiff.

   Am. Compl. ¶ 76. This claim must fail, however, because there is no private right of action

   under this regulation. See Hatfill, 404 F. Supp. 2d at 120-21. By its own terms, 28 C.F.R. § 50.2

   is an expression of agency policy setting forth “specific guidelines for the release of . . .

   information” by DOJ personnel to news media in criminal and civil cases. Id. § 50.2(a).

   “Absent a clear indication of congressional intent to create a private right of action for the

   enforcement of this regulation, the Court can not [sic] impose one.” Hatfill, 404 F. Supp. 2d at

   121.


                                           III. CONCLUSION


          Plaintiff’s Amended Complaint fails to state a claim upon which relief can be granted

   and, accordingly, defendants’ motion to dismiss will be granted. An Order accompanies this

   Memorandum Opinion.


   DATE: August 17, 2012                                  COLLEEN KOLLAR-KOTELLY
                                                          United States District Judge
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